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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBLA

DEBORAH D. PETERSON,
Personal Representative
of the Estate of
James C. Knipple (Deceased), et a1

                    Plaintiffs

                                               Civil Action# 1 :O 1 CV02094(RCL)

THE ISLAMIC REPUBLIC OF IRAN, et al.

                        Defendants


                   REPORT OF SPECIAL MASTER
                PURSUANT TO ORDER OF REFERENCE
             CONCERNING COUNTS CDLXXXV - CDLXXXM


      In accordance with the Order of Reference entered pursuant to the

provisions of Federal Rule 53, the Special Master has received evidence with

regard to all issues of compensatory damages fiom witnesses as set forth below.

This is an action for emotional and physical damage resulting fiom an act of state

sponsored terrorism on the part of the Defendants and their agents occurring on

and prior to the 23rd day of October 1983 at the Beirut, Lebanon United States

Marine Barracks.

      The following fmdings of fact are based upon the sworn testimony and

documents entered into evidence in accordance with the Federal Rules of

Evidence and have been established by clear and convincing documentary

evidence and testimony.
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  1. Marvin Albright was born January 2, 1963 in the United States of America

and has been at all times throughout his life a citizen of the United States of

America.

  2. On October 23 1983, Marvin Albright was a member of the United States

Marines having enlisted on July 29, 1981 and was stationed in Beirut, Lebanon.

  3. On October 23 1983, the Marine Barracks building housing the Decedent's

Marine Battalion in Beirut was attacked by a suicide bomber who was driving a

truck which penetrated to the center of the building where the truck, which was

carrying a large quantity of explosives, detonated, collapsing the building resulting

in the deaths of 24 1 American personnel.

  4. As a result of the explosion, Marvin Albright, suffered severe injuries

which have consequently affected his physical and emotional well being to this

day.

  5. The following testimony clearly establishes that the victim and his family

have never recovered £iom the effects of the Marine Barracks Bombing on

October 23, 1983. The emotional trauma they sustained, as well as the physical

injury sustained by Marvin Albright is permanent and significant.

         Marvin Albright testified on his own behalf about the injuries he suffered in

Beirut Lebanon on October 23, 1983, and the lasting physical and psychological

effects they have had on him.

         Marvin grew up in Avondale, South Carolina. He attended college in

Connecticut as well as a couple of trade schools, but failed to complete any of
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them except for truck driving school. He currently delivers lumber for a company

in Danbury, Connecticut. Marvin has two sons and a daughter. They are spread

out over eleven years, the oldest being eighteen at the time of the deposition.

       Marvin had part time jobs in high school, but his first fill time job, right

out of high school, was the Marine Corps. Marvin was in good condition after

high school. He had played basketball and football in high school.

       Marvin had wanted to join the Marines as far back as he can remember.

His parents had no problem with him enlisting. They were from a small town and

saw it as a way for Marvin to go somewhere else. He enlisted at age 17 and

entered basic training at age 18. Boot camp was very difficult for Marvin. When

he graduated, he felt a great sense of relief. His mother attended his graduation.

Marvin went to communication school in California. He was a teletype operator.

He was assigned to Camp Geiger at Camp LeJeune. He was assigned to the 8&

Marines from the 1 0 Marines.
                     ~        This was a move fiom artillery to infantry.

Marvin got married in February of 1983.

       Manin sometimes went home on the weekends to visit his family.
Sometimes he called them on the phone.

       Marvin's wife didn't want h
                                 im to go to Beirut. His mother was concerned

that Marvin would get hurt or killed. Marvin saw his parents January or February

before the bombing in October.

       Marvin was on the ship for two or three weeks on his way to Beirut. His

job in communications remained the same on the ship as it had been on the
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ground. Most of their communications went to or through the second Marine

Division. Marvin's communications unit was only ten or twelve guys.

       Marvin and the other Marines that arrived with him were relieving the 6'h

Marines when they arrived. There was a car bomb soon after they got there and

they regularly took mortar fire. Marvin was staying on the 3" floor of the BLT

(Battalion Landing Team) Building that was the target of the truck bomb on

October 23, 1983. Every day someone died. Marvin's unit worked in shifts of

twelve hours on and twelve hours off. When Marvin got liberty, he went to

Turkey. Marvin went on patrol once. Had anyone gone out alone, Marvin

believes they would have been killed. Marvin carried his weapon loaded but not

chambered. The Rules of Engagement stated that they were not allowed to shoot

at things.

       On the morning of the bombing, Marvin woke up to a lot of noise. Marvin

slept next to an open space in the building that had been a window at one point.

Marvin was sitting up. He realized that he was buried up to his chest. One of his

arms was sticking out of the rubble. He was missing his glasses. He had a hold of

a chaplain and was trying not to let him go. He was dug out and was carried away

on a gurney. Marvin was fading in and out of consciousness. He didn't find out

that the BLT Building had collapsed until later.

       Marvin's boots had been blown off his feet by the blast. He had a

compound fracture of the right leg. Some of the toes on his left foot were split

open. He was covered with cuts fiom shrapnel.
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       Marvin was being treated by the French medics. Marvin doesn't remember

how long he was there. He was evacuated to Cyprus by way of a ship. He was

listed as missing for two or three days because the Navy had not been able to keep

track of which Marines had been sent to which hospital. Marvin is not sure when

he got operations for his injuries. Marvin was taken to Bethesda Naval Hospital.

       Marvin's parents visited him at Bethesda. His wife never left the hospital.

The Marines sent Marvin and the other survivors to a Navy Psychiatrist for a brief

evaluation. Marvin tried not to take his pain medication. Marvin was unable to

walk for months.

       Marvin felt that everything was going downhill after the bombing. He

stopped showing up for duty in the Marines. Marvin refused to go overseas with

his unit. He didn't care about anything. He left the Marines in 1986. He had no

job. He got divorced a couple years after he left the Marines. Marvin feels his

divorce was a result of the effects of the bombing on him. He didn't communicate

very well with his wife after he got home from Beirut. He quit drinking three

years before the deposition, but prior to that, he had developed a drinking problem

after the bombing. He was drinking because he had a great deal of trouble

sleeping. His wife used to wake him up and make him go back to sleep because

he would thrash in his sleep. He still wakes up in cold sweats in a state of fear.

He used to attend counseling sessions at the V.A. because he felt pressured to take

psychotropic drugs. Marvin has trouble socializing with people since the

bombing. He prefers to be by himself. He is unable to maintain stable
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relationships and doesn't make an effort to make new fiends. Marvin doesn't like

talking about the other Marines. He feels he could talk to other Marines that were

there, but he just doesn't like talking about it too much. Marvin feels that, when

he does talk to other Marines that were in Beirut, the conversation inevitably turns

to the bombing. Marvin doesn't like talking about it and the other Marines seem

fixated on it, so he avoids them most of the time.

       Marvin went to a celebration for the Beirut Veterans several years ago with

his ex-wife. She knew a lot of the Marines Marvin served with and also wanted to

see them.

       Marvin had intended to make the Marine Corps a career and would not

have left in 1986, if not for the bombing. Nothing matters to Marvin. If he

walked outside and his car was gone, he wouldn't get mad or try to find it, he'd

just try to get another one.

       Marvin's older son is in college now. Marvin would have preferred his son

join the military for the experience before going to college. He feels that going

through boot camp was a positive experience for him. He thinks that the military

can be a good thing and that it is for most people.

       Twenty years ago, Marvin thinks he would have tried to kill the defendants,

the Iranians, who orchestrated the bombing, but now, he doesn't know what, if

anything, he would say or do to them.

       Marvin still suffers from physical pain as a result of his injuries. He

doesn't want to take pain medication because he doesn't think it is a solution to
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the problem. Mavin still suffers fiom psychological damage as well. The

September 1lm attacks brought all of his emotions and pain fiom Beirut back to

him. He experienced it all again.

       Marvin joined the plaintiffs in this case because he didn't want his pain and

suffering to be for nothing. He has had his current job for three years and that is

the longest Marvin has held a job since the bombing.



                             CONCLUSIONS OF LAW

       Pain and Suffering.

       The above testimony as well as other admitted evidence clearly indicates

that Marvin Albright suffered physical and emotional injury as a result of the

actions of the Islamic Republic of Iran and its agents. The special master

concludes that Marvin Albright is entitled to Five Million (5,000,000) Dollars in

compensatory damages due to the demonstrated injury caused in the Marine

Barracks Bombing.



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